                        Case 2:97-cr-00026-DHB-BWC Document 634 Filed 02/23/16 Page 1 of 1


                                                                                                                                 Page 1 of 2(Pagef2-llJf.i ip?     Disclosure)
AO 247 (10/1   1) Order Regarding Motion for Semence Reduction Pursiianl lo 18 U.S-C. j 3582(c)(2)                              - U.S.LtiSlklCl UtiUK!
                                                                                                                                                                 ntV.
                                                                  United States District Court
                                                                                         for the                                    20I6FEB23 AMlii33
                                                                        Southern District of Georgia
                                                                           Brunswick Division
                                                                                                                                               •JIST. QF 6A.
                           United States of America                                        )
                                            V.
                                                                                                Case No: CR297-0QQ26-001
                                  Billy Guyton, Sr.                                             USMNo: 09562-021
                                                        February 26. 1998                       William B. Johnson
 Date of Original Judgment:                                                                     Defendant's Attorney
 Date of Previous Amended Judgment: January 28, 2015
(Use Date ofLast Amended Judgment ifAny)
                            Order Regarding Motion for Sentence Rednction Pnrsnant to 18 U.S.C.§ 3582(c)(2)
                Upon motion of Sthe defendant Dthe Direetct                                           Bureau ofPri^                        rrnte^hat" a's""'
 § 3582(c)(2)for a reduction in the ternr of                                                             Sentencing Commission pursuant to 28 U.S.C.
  the sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,
  IT IS ORDERED that the motion is.             ■ i •          Qpntence of imprisonment (as reflected in the lastjudgment
  n DENIED. 1x1 GRANTED and the defendant's previously imposed sentence ot ™pris™m^^
                                issued) of 384 months is reduced to

                                                         (Complete Parts I and!!ofPage 2 when motion is granted)




                                                                                                                                shall remain in effect
    Except as       otherwise provided above, all provisions of the judgment dated FebruOT.^6. 1998,
    IT IS SO ORDERED.

     Order Date:                                                                                                       Judge's signature




                                                                                                     Dudley H. Bowen, Jr.
     Effectiye Date:                                                  ^                              United States District Judge
                                                                                                                      Printed name and title
                                 (if differentfrom order date)
